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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA

 In re Subpoena to Non-Party Lindsey
 O. Graham in his official capacity as
 United States Senator,                        Case No. ___________

 in the matter of:

 Special Purpose Grand Jury, Fulton
 County Superior Court Case No.
 2022-EX-000024.


 SENATOR LINDSEY O. GRAHAM’S CERTIFICATE OF INTERESTED
     PERSONS AND CORPORATE DISCLOSURE STATEMENT

      In accordance Local Rule 3.3, Senator Lindsey O. Graham (“Senator

Graham”) respectfully submits this Certificate of Interested Persons and Corporate

Disclosure Statement.

      1.      The undersigned counsel of record for Senator Graham certifies that the

following is a full and complete list of all parties in this action, including any parent

corporation and any publicly held corporation that owns 10% or more of the stock

of a party:

           (a) Senator Lindsey O. Graham

           (b) Fani T. Willis, Fulton County District Attorney

           (c) Special Purpose Grand Jury, Fulton County Superior Court
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      2.      The undersigned counsel further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      Counsel for Senator Graham is aware of no other persons, associations, firms,

partnerships, or corporations having either a financial interest in or other interest

which could be substantially affected by the outcome of this particular case.

      3.      The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

              (a) Brian C. Lea, Donald F. McGahn II, Robert Luther III and the law

firm JONES DAY as attorneys for Senator Graham.

              (b) E. Bart Daniel, Marshall T. Austin, and the law firm NELSON

MULLINS RILEY & SCARBOROUGH LLP as attorneys for Senator Graham.

              (c) Fani T. Willis, Nathan Wade, and the Fulton County District

Attorney’s Office on behalf of the Special Purpose Grand Jury.



                               (Signature page follows)




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Date: July 29, 2022                Respectfully submitted,

                                   /s/ Brian C. Lea
DONALD F. MCGAHN II                BRIAN C. LEA
 Application for admission         Georgia Bar No. 213529
 pro hac vice forthcoming          JONES DAY
ROBERT LUTHER III                  1221 Peachtree Street, N.E.,
 Application for admission         Suite 400
 pro hac vice forthcoming          Atlanta, Georgia 30361
JONES DAY                          (404) 521-3939
51 Louisiana Ave., NW              blea@jonesday.com
Washington, DC 20001
(202) 879-3939                     E. BART DANIEL
dmcgahn@jonesday.com                Application for admission
rluther@jonesday.com                pro hac vice forthcoming
                                   MARSHALL T. AUSTIN
                                    Application for admission
                                    pro hac vice forthcoming
                                   NELSON MULLINS RILEY &
                                    SCARBOROUGH LLP
                                   151 Meeting Street,
                                   Suite 600
                                   Charleston, SC 29401
                                   (843) 853-5200
                                   bart.daniel@nelsonmullins.com
                                   matt.austin@nelsonmullins.com




              Counsel for United States Senator Lindsey Graham



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            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)

      I hereby certify that this brief has been prepared with one of the font, point,

and style selections approved by the Court in LR 5.1(B)—namely, double-spaced in

14-point Times New Roman font.

 Date: July 29, 2022                   /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




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                         CERTIFICATE OF SERVICE

      I hereby certify that on July 29, 2022, I caused a copy of the foregoing to be

served via U.S. Mail on the following recipients:

      Fani T. Willis
      Fulton County District Attorney’s Office
      136 Pryor Street SW
      3rd Floor
      Atlanta, Georgia 30303


 Date: July 29, 2022                   /s/ Brian C. Lea
                                       BRIAN C. LEA
                                       Georgia Bar No. 213529
                                       JONES DAY
                                       1221 Peachtree Street, N.E.,
                                       Suite 400
                                       Atlanta, Georgia 30361
                                       (404) 521-3939
                                       blea@jonesday.com

                                       Counsel for United States Senator Lindsey
                                       Graham




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